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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

_____________________________________
ISMET KRASNIQI,                       )                  CIVIL ACTION NO.
     Plaintiff                        )
                                      )
v.                                    )
                                      )
A BETTER WAY WHOLESALE AUTOS, INC. )
and                                   )
SANTANDER CONSUMER USA, INC.          )
     Defendants                       )
_____________________________________ )                  JANUARY 11, 2018


                                       COMPLAINT


I.     INTRODUCTION

       1.      This is an action brought by a consumer under the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301 et seq. (“MMWA”); the Connecticut Unfair Trade

Practices Act (“CUTPA”), Conn. Gen. Stat. § 42a-110a et seq.; and for breach of

express warranty against an automobile dealership and finance company. Plaintiff

brings this action to pursue actual damages, punitive damages, injunctive relief and

reasonable attorney’s fees and costs.

II.    PARTIES

       2.      Ismet Krasniqi (“Plaintiff” or “Krasniqi”) is natural person and consumer

residing in Mahopac, New York.

       3.      Defendant A Better Way Wholesale Autos, Inc. (“ABW”) is a Connecticut

corporation that operates a motor vehicle dealership in Naugatuck, Connecticut.

       4.      Defendant Santander Consumer USA (“Santander”) is an Illinois

corporation with principal officers in Dallas, Texas.

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III.   JURISDICTION

       5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332

and 15 U.S.C. § 2310(d). Supplemental jurisdiction exists under 28 U.S.C. § 1667 for

the pendant state law claims.

       6.      Complete diversity exists as the Plaintiff is a resident of New York, ABW is

a Connecticut corporation and Santander is an Illinois corporation.

       7.      This Court has jurisdiction over ABW because it is organized under the

laws of Connecticut and regularly conducts business in this state.

       8.      This Court has jurisdiction over Santander because it regularly conducts

business in this state.

       9.      Venue is proper in this Court, because the transaction occurred in

Connecticut.


IV.    FACTUAL ALLEGATIONS

       10.     On or about October 29, 2015, Plaintiff went to ABW interested in

purchasing a 2011 Audi A6 (the “Vehicle”).

       11.     Plaintiff agreed to purchase the Vehicle for a cash price of $20,995. The

total cash price delivered, including sales tax and other fees, was $27,418.47.

       12.     Plaintiff paid a $1,000 down payment and financed the balance pursuant

to a retail installment sales contract (the “Contract”) that was subsequently assigned to

Santander.




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       13.     The Contract included a clause that renders Santander subject to claims

and defenses that could be raised against ABW up to the amount paid under the

contract.

       14.     Unbeknownst to Plaintiff, the Vehicle had been involved in two crashes

previously and suffered structural damage rendering it unsafe to drive.

       15.     ABW knew or should have known that the Vehicle had this damage.

       16.     This damage would have been readily apparent to any automotive

professional at ABW performing the safety inspection required by Conn. Gen. Stat. §

14-62(g).

       17.     Plaintiff brought the Vehicle to an Audi dealership in summer of 2017 for

repairs and learned that it had been involved in one or more serious accidents.

       18.     Concerned, Plaintiff brought the Vehicle to an independent auto body

expert and learned of the aforementioned structural damage.

       19.     The amount in controversy in this action, including statutory punitive

damages and common law punitive damages, exceeds $75,000.


V.     CAUSES OF ACTION


COUNT ONE: BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY


       20.     ABW is a “merchant” as that term is defined in Conn. Gen. Stat. § 42a-2-

104.

       21.     The Vehicle constitutes “goods” as that term is defined in Conn. Gen. Stat.

§ 42a-2-105.




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       22.    The Vehicle is a consumer product as that term is defined in § 2301(1) of

the MMWA.

       23.    A warranty that the Vehicle was in merchantable condition at the time of

sale was implied in the Contract by operation of Conn. Gen. Stat. § 42a-2-314.

       24.    ABW breached the implied warranty of merchantability because the

Vehicle was not in merchantable condition at the time of sale to Plaintiff. Specifically,

the Vehicle had structural damage that rendered the Vehicle unsafe to drive.

       25.    ABW’s breach of the implied warranty of merchantability was tortious in

nature, in bad faith, was wanton and malicious, outrageous, and was undertaken with

bad motive and with a reckless indifference to Plaintiff’s interest and the injury that he

sustained, entitling him to claim common law punitive damages.

       26.    For ABW’s breach of the implied warranty of merchantability, Plaintiff is

entitled to actual damages, a refund of the amounts he has paid, plus attorney’s fees

and costs under the MMWA, 15 U.S.C. § 2310(d).

       27.    Plaintiff also seeks equitable relief pursuant to MMWA in the form of an

order requiring ABW to repurchase the Vehicle.


COUNT TWO – CONNECTICUT UNFAIR TRADE PRACTICES ACT


       28.    ABW violated the Connecticut Unfair Trade Practices Act (“CUTPA”) by

engaging in unfair and deceptive acts, as alleged above.

       29.    ABW failed to perform a safety inspection on the Vehicle as required by

Conn. Gen. Stat. § 14-62(g) or, if it did perform a safety inspection, it sold the Vehicle

notwithstanding the defects and failed to disclose those on the CT DMV K-208 form as


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required by Conn. Gen. Stat. § 14-62(g), a per se violation of CUTPA pursuant to Conn

Gen. Stat. § 42-110b-28(b)(23).

       30.    As a result of the aforesaid conduct Plaintiff has suffered an ascertainable

loss of money and property in the form of a Vehicle worth substantially less due to the

undisclosed defects.

       31.    Plaintiff is entitled to recover his actual damages plus, in the Court’s

discretion, costs, attorney’s fees, and punitive damages, pursuant to Conn. Gen. Stat. §

42-110g.

       32.    Plaintiff also seeks equitable relief under CUTPA in the form of an order

requiring ABW to repurchase the Vehicle.


COUNT THREE – BREACH OF EXPRESS WARRANTY


       33.    ABW made affirmations of fact or promise relating to the Vehicle that

became part of the basis of the bargain and that created express warranties pursuant to

Conn. Gen. Stat. § 42a-2-313(a).

       34.    Specifically, ABW represented that the Vehicle had undergone a safety

inspection and indicated on the Connecticut DMV K-208 form that the frame and

chassis, as well as the entire vehicle, was safe for operation.

       35.    Representations regarding the safety of the vehicle were part of the basis

of the bargain that induced Plaintiff into purchasing the Vehicle.

       36.    The Vehicle was not safe for operation.

       37.    ABW’s breach of express warranty was tortious in nature, in bad faith, was

wanton and malicious, outrageous, and was undertaken with bad motive and with a

reckless indifference to the Plaintiff’s interests and the injury that he sustained.

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      38.   As a result of the above-described actions, ABW is liable to Plaintiff for his

damages, including common law punitive damages.




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       WHEREFORE, Plaintiff claims actual damages, punitive damages, costs,

reasonable attorney’s fees, and such other relief to which the Plaintiff is, at law, or in

equity and by statute, entitled to against defendants. Plaintiff further claims an order

require ABW to repurchase the Vehicle.



                                            PLAINTIFF, ISMET KRASNIQI

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